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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT


                                                       )
HYBRID ATHLETICS, LLC,                                 )
                                                       ) Case Action No. 3:17-CV-1767 (VAB)
                Plaintiff,                             )
                                                       )
v.                                                     )
                                                       )
HYLETE LLC,                                            )
                                                       )
                Defendant.
                                                       )


       DEFENDANT HYLETE’S MOTION TO DISMISS HYBRID ATHLETICS, LLC'S
      COMPLAINT OR, IN THE ALTERNATIVE, MOTION TO CHANGE VENUE

          COMES NOW, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,

Defendant Hylete LLC (“Hylete” or “Defendant”) will and hereby moves the Court for an order

dismissing without leave to amend Plaintiff Hybrid Athletics, LLC’s (“Plaintiff”) claims against

it or, in the alternative, an order transferring the action to the United States District Court for the

Southern District of California.

          Hylete moves to dismiss Plaintiff’s claim for trademark infringement and false

designation of origin and unfair competition under federal law, its statutory claim for unfair

competition, and its common law claims for trademark infringement and unjust enrichment,

because they are all barred by the applicable statutes of limitations and under the doctrine of

laches.

          Hylete additionally moves to dismiss Plaintiff’s claim under Connecticut’s unfair

competition law because the claim is based on fraudulent conduct, but yet Plaintiff fails to plead

such conduct with particularity under Federal Rule of Civil Procedure 9(b). Merely reciting

phrases “palming off” or “passing off” does not satisfy Rule 9(b)’s standards. Further, because



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the unfair competition claim is based exclusively on copyrightable subject matter, it is preempted

by the Copyright Act.

         In the alternative, and to the extent Plaintiff’s claims can withstand dismissal, Hylete

moves to transfer the action to the United States District Court, Southern District of California

under 28 U.S.C. § 1404(a). The Southern District of California, where Plaintiff alleges Hylete is

based, is the forum in which the bulk of the operative facts arose, it has most of the witnesses

Hylete anticipates providing, contains the bulk of the evidence that Hylete anticipates providing,

among other relevant factors. While Plaintiff’s choice of forum is a consideration in this transfer

analysis, in light of the numerous factors favoring transfer, transfer is appropriate.

         This Motion is supported by the Memorandum of Points and Authorities, and any

documents concurrently filed therewith as well as all relevant files and records in this action.




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                                      Respectfully Submitted,



Date: December 29, 2017               By: /s/ Thomas J. Mango         .
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 29, 2017 a copy of the foregoing document was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                       /s/ Thomas J. Mango            .
                                                         Thomas J. Mango




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